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                                   5
                                        Attorney for Plaintiffs
                                   6
                                                                  UNITED STATES DISTRICT COURT
                                   7
                                   8                                    DISTRICT OF NEVADA

                                   9     AMY VILELA, an individual;                    Case No.:
                                         JOZETTE FIGUEREDO, an individual;
                                  10     AMY VILELA, as Special Administrator of the                  COMPLAINT
                                         Estate of SHALYNNE RAMOS,
THE LAW OFFICE OF CASEY D. GISH




                                  11
                                                                                           1. EMTALA VIOLATION FOR
                                  12                                Plaintiffs,               FAILURE TO SCREEN AND/OR
      Las Vegas, Nevada 89118




                                                                                              TREAT SHALYNNE RAMOS
       5940 S. Rainbow Blvd.
       Phone (702) 583-5883




                                  13             vs.                                       2. WRONGFUL DEATH OF
                                                                                              SHALYNNE RAMOS
                                  14                                                       3. PROFESSIONAL
                                         VALLEY HEALTH SYSTEM, LLC, d/b/a
                                  15     CENTENNIAL HILLS HOSPITAL                            NEGLIGENCE/MALPRACTICE
                                         MEDICAL CENTER, a Nevada Limited                     AS AGAINST ALL DEFENDANTS
                                  16     Liability Company;                                4. NEGLIGENCE AS AGAINST ALL
                                         UNIVERSAL HEALTH SERVICES OF                         DEFENDANTS
                                  17                                                       5. NEGLIGENT
                                         DELAWARE, INC., a Delaware corporation;
                                         Tanya Netz PAC; Jill Mcatee, RN; DOE                 TRAINING/NEGLIGENT
                                  18
                                         Defendants I through X, inclusive; ROE               SUPERVISION AS AGAINST
                                  19     NURSES I through XX, inclusive; ZOE                  EACH DEFENDANT
                                         HOSPITALS or OTHER MEDICAL                        6. RESPONDEAT SUPERIOR
                                  20     FACILITIES I through X; and ROE                      AGAINST AS AGAINST
                                         CORPORATIONS I through X, inclusive.                 DEFENDANTS CENNTENIAL
                                  21                                                          AND UHS
                                                                    Defendants.            7. NEGLIGENT INFLICTION OF
                                  22
                                                                                              EMOTIONAL DISTRESS OF
                                  23                                                          JOZETTE FIGUEREDO
                                                                                           8. NEGLIGENT INFLICTION OF
                                  24                                                          EMOTIONAL DISTRESS OF AMY
                                                                                              VILELA
                                  25
                                  26
                                               COMES NOW, Plaintiffs AMY VILELA, an individual, JOZETTE FIGUEREDO, an
                                  27
                                        individual, AMY VILELA (hereinafter “AMY”, or “Plaintiff”), as Special Administrator of
                                  28
                                        the Estate of SHALYNNE RAMOS by and through their attorney of record, Casey D. Gish of
                                                                                  1
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                                   1    The Law Office of Casey D. Gish and for causes of action against the above-named

                                   2    Defendants hereby complains and alleges as follows.

                                   3                                         COMMON FACTS

                                   4       1. SHALYNNE RAMOS (hereinafter “SHALYNNE”) was a 22-year-old African-

                                   5           American female smoker who suffered from obesity as well as sickle cell trait, and

                                   6           who was also using the NuvaRing contraceptive device. (see affidavit of AMY
                                   7
                                               VILELA attached hereto as Exhibit 1, and affidavit of Leland Nelson attached hereto
                                   8
                                               as Exhibit 2)
                                   9
                                           2. In December 2014, SHALYNNE injured her knee in a fall. Due to chronic knee pain,
                                  10
                                               she underwent magnetic resonance imaging (“MRI”) in April 2015 which confirmed
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                                  11
                                  12           an ACL injury. (see Exhibit 1)
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       Phone (702) 583-5883




                                  13       3. On May 23, 2015, SHALYNNE drove from Missouri to Las Vegas, Nevada, a trip
                                  14           which took approximately 22 hours. According to SHALYNNE’s family, soon after
                                  15
                                               her arrival on or about May 25, 2015 she began complaining of increasing pain in her
                                  16
                                               lower left extremity distal to the knee. (see Exhibits 1 and 2)
                                  17
                                           4. On June 3, 2015 SHALYNNE was with her boyfriend Leland Nelson (hereinafter
                                  18
                                  19           “Leland”) who inadvertently reinjured her left knee after lifting her. This was the

                                  20           second time she suffered injury in this area. Leland, along with SHALYNNE’s step-

                                  21           father, David Vilela (“David”), took her to Centennial Hills Centennial Hills Medical
                                  22           Center’s Emergency Department (hereinafter “CENTENNIAL”) at 6900 North
                                  23
                                               Durango Dr., Las Vegas, Clark County, Nevada in order to uncover the source of the
                                  24
                                               extreme pain she was experiencing in her left knee and lower left leg due to what was
                                  25
                                               later determined to be a life-threatening Deep Vein Thrombosis (“DVT”). (see Exhibit
                                  26
                                  27           2)

                                  28

                                                                                    2
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                                   1       5. Upon arrival at the CENTENNIAL Emergency Department, hospital staff immediately

                                   2          requested SHALYNNE’s insurance information, which she was unable to provide, or

                                   3          to pay an upfront fee before she was triaged by nursing staff. (see Exhibit 2)

                                   4       6. SHALYNNE and David, at the request of the CENTENNIAL’s intake staff, attempted

                                   5          to contact her most recent insurer, as well as Tricare, in order to satisfy their demands

                                   6          for insurance information, or alternative, payment up front. (see Exhibit 1)

                                   7       7. After failing to provide proof of insurance, SHALYNNE was never examined by a

                                   8          physician, nor did she receive a proper emergency screening examination as required

                                   9          by 42 U.S.C. § 1395 dd(d)(2)(A), the Emergency Medical Transportation and Labor

                                  10          Act (“EMTALA”). (see Exhibit 2)
                                           8. SHALYNNE specifically told CENTENNIAL that she had pain in her left knee and
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                                  11
                                  12          lower left leg, including the calf area. The records reflect that that she was there for
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                                              pain in her knee and calf area that she estimated to be an 8 on a scale of 10. (see
                                  13
                                              Exhibits 2 & 3)
                                  14
                                           9. The hospital did not ask Shalynne for a detailed medical history, what medications she
                                  15
                                  16          was taking, if she was pregnant, or even her ethnicity. The race listed in the

                                  17          CENTENNIAL medical records is “Hispanic”, which is an incorrect assumption by
                                  18          hospital staff as it was not an answer provided to them by SHALYNNE. (see Exhibits
                                  19
                                              2 & 3)
                                  20
                                           10. SHALYNNE had the sickle cell trait, a condition that exists among some African-
                                  21
                                              Americans and is known to increase the risk of blood clots. SHALYNNE also
                                  22
                                  23          suffered from Polycystic Ovary Syndrome (“PCOS”). None of this information was

                                  24          documented in SHALYNNE’s medical records by CENTENNIAL, and the hospital

                                  25          did not ask her to provide it. (see Exhibits 1, 2, & 3)
                                  26       11. SHALYNNE was also using the contraceptive NuvaRing and was prescribed
                                  27
                                              metformin to treat her PCOS. NuvaRing is known for increasing the risk for blood
                                  28

                                                                                    3
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                                   1          clots, especially when, as here, tobacco use and obesity are present. None of these

                                   2          medications are documented in SHALYNNE’s medical records by CENTENNIAL,
                                   3          and the hospital did not ask her to provide it. (see Exhibits 1, 2, & 3)
                                   4
                                           12. SHALYNNE had a prior surgery due to a broken arm when she was about 10 years
                                   5
                                              old. None of this information appears in the CENTENNIAL medical records, and the
                                   6
                                              hospital did not ask her to provide it. (see Exhibits 1, 2, & 3)
                                   7
                                   8       13. Had the hospital actually inquired as to SHALYNNE’s medical history and race they

                                   9          would have discovered several blood clot risk factors such as the fact that she was of

                                  10          African American descent, that she was a carrier of Sickle Cell Trait, that she smoked
                                              tobacco products, that she was currently using the birth control drug NuvaRing, that
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                                  11
                                              she was overweight, and that her symptoms began immediately following her twenty-
                                  12
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                                              two (“22”) hour drive from Kansas City, Missouri to Las Vegas, Nevada on May 23rd
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                                  13
                                              – May 25th, 2015. (see Exhibits 1, 2, & 3)
                                  14
                                           14. When SHALYNNE requested actual emergency medical screening sufficient to
                                  15
                                              discover the blood clot, the CENTENNIAL staff refused to perform any diagnostic
                                  16
                                              testing other than the x-ray and told her that she could return for additional care and
                                  17
                                              testing once she obtained insurance. (see Exhibits 1 & 2)
                                  18
                                           15. This denial of emergency medical screening is in clear violation of 42 U.S.C. § 1395
                                  19
                                              dd(d)(2)(A), the Emergency Medical Transportation and Labor Act (“EMTALA”).
                                  20
                                           16. SHALYNNE was treated with an immobilizer and told to obtain insurance in order to
                                  21
                                  22          secure outpatient orthopedic reevaluation. SHALYNNE was never instructed by the

                                  23          hospital staff or physicians regarding the proper use and pressure for the mobilization

                                  24          device and she was never warned about the danger of blood clots or the danger of
                                  25          sitting for long periods of time such as in a car or an airplane, despite the fact that she
                                  26
                                              had just come to Las Vegas from out of town. (see Exhibits 1 & 2)
                                  27
                                  28

                                                                                    4
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                                   1       17. Distraught and discouraged, SHALYNNE felt humiliated and heeded the advice of the

                                   2          CENTENNIAL staff and attempted to obtain insurance coverage before seeking out

                                   3          any further medical treatment and suffering the same embarrassment as her June 3rd

                                   4          visit. (see Exhibit 1)

                                   5       18. After discharge from the hospital, SHALYNNE continued to complain about the pain

                                   6          and swelling in her left knee and lower left leg, including the calf area. Additionally,

                                   7          she became increasingly short of breath over this time period. (see Exhibits 1 and 2)
                                   8
                                           19. Approximately three (“3”) weeks later, on June 25, 2015, SHALYNNE flew back to
                                   9
                                              Missouri. Shortly thereafter, she developed chest pain and increased shortness of
                                  10
                                              breath. (see Exhibit 1)
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                                  11
                                           20. On June 26, 2015, she was rushed to Research Medical Center Hospital where she
                                  12
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                                  13          was diagnosed with an acute pulmonary embolism. (see Exhibits 1 & 3)

                                  14       21. The doctors at Research Medical Center Hospital informed AMY and her sister Ellie
                                  15          Gonzalez, who is an Emergency Room Nurse employed by Research Medical Center,
                                  16
                                              that SHALYNNE had a blood clot in her lower leg that was so massive that part of it
                                  17
                                              had broken off and traveled to her lungs. The doctors also informed her that due to the
                                  18
                                              size of the remaining portion of the clot, despite the use of clot thinners and filters, it
                                  19
                                  20          was obvious to them that the clot was likely present during the June 3, 2015 visit to

                                  21          Centennial Hills emergency department in Las Vegas. The doctors also informed

                                  22          AMY and her sister that the clot probably began to form when SHALYNNE drove
                                  23          from Missouri to Las Vegas on May 23 to 25, 2015. (see Exhibits 1 & 3)
                                  24
                                           22. SHALYNNE died in her mother’s arms at Research Medical Center Hospital on June
                                  25
                                              28, 2015. (see Exhibits 1 & 3)
                                  26
                                           23. Centennial Hills Hospital, including Tanya Netz PAC; Jill Mcatee, RN and the nursing
                                  27
                                  28          staff on June 3, 2015, fell below the standard of care and breached the applicable

                                                                                    5
                                       Case 2:16-cv-01503-RFB-CWH Document 1 Filed 06/23/16 Page 6 of 26




                                   1          standard of care when they failed to diagnose and treat SHALYNNE’s blood clot that

                                   2          had formed in her leg when she was treated on June 3, 2015. (see Exhibit 3)
                                   3       24. SHALYNNE presented with severe and ominous symptoms that, given her severe risk
                                   4
                                              factors for formation of blood clots, should have led a reasonable practitioner to
                                   5
                                              specifically rule-in or rule-out the presence of a blood clot in Shalynee’s leg. (see
                                   6
                                              Exhibit 3)
                                   7
                                   8       25. Despite these severe risk factors for formation of blood clots that SHALYNNE

                                   9          presented, the physicians and nursing staff failed to conduct an adequate examination

                                  10          of her when she presented herself to Centennial. An adequate examination would, to a
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                                  11          high degree of medical probability, have identified the blood clot that had formed in
                                  12
                                              SHALYNNE’s lower left leg. (see Exhibit 3)
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                                  13
                                           26. Such signs, symptoms, and risk factors would have led any reasonable practitioner, to
                                  14
                                              order an ultrasound of SHALYNNE’s leg to examine her for presence of a blood clot.
                                  15
                                  16          To a high degree of medical probability, the ultrasound study would have been

                                  17          positive for a blood clot. (see Exhibit 3)

                                  18       27. Consequently, but for Centennial Hills Hospital, including Tanya Netz PAC; Jill
                                  19          Mcatee, RN and the nursing staff, departing from the standard of care during their
                                  20
                                              management of SHALYNNE on June 3, 2015, SHALYNNE would still be alive. The
                                  21
                                              aforementioned breaches of the standard of care resulted in the death of SHALYNNE
                                  22
                                              RAMOS. (see Exhibit 3)
                                  23
                                  24       28. This instant action is brought under the Emergency Medical Treatment and Active

                                  25          Labor Act, 42 U.S.C. § 1395dd, et. seq., (“EMTALA”) due to the denial of an

                                  26          emergency medical screening examination and under N.R.S. 41A.

                                  27
                                  28

                                                                                    6
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                                   1       29. Pursuant to 42 U.S.C. § 1395 dd(d)(2)(A), this instant action seeks damages for the

                                   2          personal harm suffered by SHALYNNE RAMOS as a result of the lack of screening

                                   3          and medical treatment on June 3, 2015 which resulted in her death on June 28, 2015.

                                   4       30. As such cause of action is based upon a federal cause of action, this instant action is

                                   5          brought outside of the statutory caps for malpractice under Nevada state law and NRS

                                   6          41.035.

                                   7       31. This action also seeks damages as a result of the emotional distress inflicted upon

                                   8          SHALYNNE RAMOS for the humiliation she suffered as a result of her treatment by

                                   9          the Defendants on June 3, 2015.

                                  10       32. This action also seeks damages as a result of the wrongful death of SHALYNNE,
                                              including but not limited to her loss of earning capacity and loss of companionship,
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                                  11
                                  12          society, and comfort.
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                                           33. This action also seeks damages as a result of the emotional distress inflicted upon
                                  13
                                              AMY VIELA for the mistreatment and death of her daughter, SHALYNNE.
                                  14
                                           34. This action also seeks damages as a result of the emotional distress inflicted upon
                                  15
                                              JOZETTE FIGUEREDO for the mistreatment and death of her sister, SHALYNNE.
                                  16
                                           35. This action also seeks damages as a result of the negligence of the defendants.
                                  17
                                           36. This action also seeks damages as a result of the malpractice of the defendants.
                                  18
                                                                                 PARTIES
                                  19
                                           37. At all relevant times, SHALYNNE RAMOS (“SHALYNNE”) was a United States
                                  20
                                              citizen who was domiciled in Clark County, Nevada.
                                  21
                                           38. At all relevant times, AMY VILELA (“AMY”) was and is a United States citizen who
                                  22
                                              was domiciled in Clark County, Nevada.
                                  23
                                           39. At all relevant times, JOZETTE FIGUEREDO (“JOZETTE”) was and is a United
                                  24
                                              States citizen and a minor who was domiciled in Clark County, Nevada.
                                  25
                                           40. Upon information and belief, it is alleged that at all time relevant hereto, Defendant
                                  26
                                              VALLY HEALTH SYSTEM, LLC d/b/a CENTENNIAL HILLS HOSPITAL
                                  27
                                              MEDICAL CENTER (“CENTENNIAL”) was and is a private hospital that is a wholly
                                  28

                                                                                    7
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                                   1          owned subsidiary of Universal Health Services, Inc., and is domiciled within the State

                                   2          of Nevada and does business in Clark County, Nevada.

                                   3       41. Upon information and belief, it is alleged that all time relevant hereto, Defendant

                                   4          UNIVERSAL HEALTH SERVICES OF DELAWARE, INC. (“UHS”) is incorporated

                                   5          within the State of Delaware and does business in Clark County, Nevada.

                                   6       42. That Plaintiffs have obtained the Affidavit of Marc Eckstein, M.D. in support of their

                                   7          claim for medical malpractice pursuant to NRS 41A.071. Dr. Eckstein’s affidavit is

                                   8          attached hereto as Exhibit 3 and supports the allegations contained in this action. Dr.
                                   9          Eckstein’s Curriculum Vitae, attached hereto as Exhibit 4, substantiates that he has
                                  10
                                              practiced and has knowledge in areas that are substantially similar to the type of
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                                  11
                                              practice engaged in by Defendants herein at the time of the alleged malpractice.
                                  12
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                                           43. At all times mentioned herein, Tanya Netz PAC (hereinafter “NETZ”) was and still is,
                                  13
                                  14          to the extent known by Plaintiffs, a nurse practitioner or physician’s assistant working

                                  15          at the emergency department of CENTENNIAL on June 3, 2015 and a resident of
                                  16          Clark County, Nevada.
                                  17
                                           44. At all times mentioned herein, Jill Mcatee, RN (hereinafter “MCATEE”) was and still
                                  18
                                              is, to the extent known by Plaintiffs, a registered nurse working at the emergency
                                  19
                                              department of CENTENNIAL on June 3, 2015 and a resident of Clark County,
                                  20
                                  21          Nevada.

                                  22       45. At all times mentioned herein, Defendants and all of them were and still are, to the

                                  23          extent known by Plaintiffs, upon information and belief, the employer of DOES I
                                  24          through X and ROE NURSES I through XX. At all times relevant herein, upon
                                  25
                                              information and belief, Defendants and all of them, and DOES I through X, ROE
                                  26
                                              NURSES I through XX, and ZOE HOSPITALS or OTHER MEDICAL FACILITIES
                                  27
                                              I through X were acting in the course and scope of their employ/agency and/or joint
                                  28

                                                                                   8
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                                   1          venture.

                                   2       46. That the true names and capacities, whether individual, corporate, associate or
                                   3          otherwise, of Defendants designated as DOES I through X, ROE NURSES I through
                                   4
                                              XX, ZOE HOSPITALS or OTHER MEDICAL PROVIDERS/FACILITIES I through
                                   5
                                              X, inclusive, are unknown to Plaintiffs. Therefore, Plaintiff sues said Defendants by
                                   6
                                              said fictitious names. Plaintiff is informed and believes and thereon alleges that each
                                   7
                                   8          of the Defendants designated as DOE, ROE, and/or ZOE are responsible in whole or

                                   9          in part for the events and happenings referred to herein. Plaintiff is also informed and

                                  10          believes and allege that each of the Defendants both proximately and actually caused
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                                  11          damages to the Plaintiffs through their negligent, reckless, and/or intentional conduct,
                                  12
                                              omissions, and representations, as more fully set forth in the facts, circumstances and
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                                  13
                                              events described herein, including but not limited to the medical treatment provided to
                                  14
                                              SHALYNNE RAMOS as well as any and all complications suffered as a result of any
                                  15
                                  16          and all treatment rendered by any Defendant.

                                  17       47. Such parties may include, but are not limited to: medical care providers, nurses,

                                  18          hospitals, doctors, surgeons, anaesthesiologists, medical professionals, clinics,
                                  19          radiologists, internists, Emergency Room Physicians, hospitalists, nurse practitioners,
                                  20
                                              physicians’ assistants, insurance companies, employees thereof and/or any other
                                  21
                                              business, entity or person that interacted with or has contractual or statutory
                                  22
                                              obligations to the Plaintiffs related to this action or the medical treatment addressed
                                  23
                                  24          herein. Plaintiffs are informed that ROE NURSES I through XX were also

                                  25          proximately involved in whole or in part for the events and happenings referred to
                                  26          herein and proximately and actually caused damages to Plaintiffs through their
                                  27
                                              negligent, reckless, and/or intentional conduct, omissions, and representations.
                                  28

                                                                                   9
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                                   1       Plaintiffs are informed that ROE NURSES I through XX are nurse practitioners,

                                   2       charge nurses, discharge nurses, nursing supervisors, nurses’ assistants, attending
                                   3       nurses, operating room nurses, and/or other medical staff that were involved in the
                                   4
                                           treatment of SHALYNNE RAMOS prior to, during, and/or following the events
                                   5
                                           described in the instant Complaint. Additionally, Plaintiffs are informed that ZOE
                                   6
                                           HOSPITALS or OTHER MEDICAL FACILITIES I through X were owners of
                                   7
                                   8       medical facilities, operators of medical facilities, employers and/or agents of DOES I

                                   9       through X and/or ROE NURSES I through XX, and/or were entities which were

                                  10       charged with the training and supervision of any of the Defendants, whether DOE or
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                                  11       ROE, herein described, and/or were culpable in the present case due to their provision
                                  12
                                           of medical care, supplies and/or medical products which fell below the applicable
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                                  13
                                           standard of care. The Plaintiffs will seek leave of this Court to amend this Complaint
                                  14
                                           to insert the true names and capacities of DOES I through X, ROE NURSES I through
                                  15
                                  16       XX, ROE CORPORATIONS I through X, and/or ZOE HOSPITALS or OTHER

                                  17       MEDICAL FACILITIES I through X, inclusive, when the same have been ascertained

                                  18       and to thence join them in this action.
                                  19    48. At all times relevant herein, Defendants, and each of them, were the agents, servants,
                                  20
                                           partners, joint ventures, and employees of each and every other Defendant, and were
                                  21
                                           acting within the course and scope of their agency, partnership and employment, and,
                                  22
                                           to the extent permitted by law, are jointly and severally liable.
                                  23
                                  24    49. The acts performed by representatives of Defendants CENTENNIAL and UHS,

                                  25       whether such representatives have been individually named herein as a defendants, or

                                  26       are yet to be identified, were all ones which those representatives had the actual and/or

                                  27       apparent authority to perform, may have been within the scope of their employment,

                                  28       were of the kind they were authorized to perform, and were actuated at least in part by

                                                                                10
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                                   1       a desire to serve their employers, and therefore the entity defendants are liable for their

                                   2       actus pursuant to the doctrine of respondent superior.

                                   3                               JURISDICTION AND VENUE

                                   4    50. All of the acts complained of herein, and a substantial part of the events giving rise to

                                   5       the claims alleged herein, occurred in Clark County, Nevada.

                                   6    51. Jurisdiction is proper in this Court pursuant to 42 U.S.C. § 1395 dd(d)(2)(A).

                                   7    52. Jurisdiction is also proper in this Court pursuant to 28 U.S.C. § 1331, as this instant

                                   8       action requires the interpretation and application of a federal statute.

                                   9    53. Venue is properly conferred on this Court pursuant to 28 U.S.C. § 1391 (b) because

                                  10       the Defendants are subject to personal jurisdiction in this District and because a
                                           substantial part of the events giving rise to the claims alleged herein took place in this
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                                  11
                                  12       District.
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                                        54. Where applicable, all matters set forth herein are incorporated by reference in the
                                  13
                                           various causes of action which follow.
                                  14
                                                              GENERAL MEDICAL ALLEGATIONS
                                  15
                                  16    55. That as a result of the negligent, emergency treatment received, SHALYNNE suffered

                                  17       the injuries herein alleged and died. As a further result of the negligent, emergency
                                  18       treatment SHALYNNE received, Plaintiffs herein suffered physical and emotional
                                  19
                                           distress. As set forth in the Affidavit of Dr. Eckstein, SHALYNNE’S death would not
                                  20
                                           have occurred in the absence of negligence.
                                  21
                                        56. That each of the Defendants fell below the applicable standards of medical care in
                                  22
                                  23       their treatment of SHALYNNE. This is including, but not limited to, failing to have a

                                  24       physician examine SHALYNNE, failing to warn SHALYNNE of the high risk of

                                  25       blood clots presented by sitting or traveling for long periods of time, failing to
                                  26       recognize SHALYNNE’s high risk for blood clots due to her obesity, her race as an
                                  27
                                           African American, her usage of the contraceptive NuvaRing, her medical history, and
                                  28

                                                                                 11
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                                   1          her use of tobacco, amongst other factors, and failing to ensure SHALYNNE was

                                   2          treated in a timely and appropriate manner related to the blood clot that was in her leg
                                   3          and to treat in a timely and appropriate manner the pain she reported in her knee and
                                   4
                                              below.
                                   5
                                        57.    That as a further direct and proximate result of the negligence, recklessness and
                                   6
                                              carelessness of each of the Defendants, SHALYNNE and the Plaintiffs sustained and
                                   7
                                   8          will continue to sustain damages, the exact amount of which is presently unknown and

                                   9          unascertainable. Accordingly, Plaintiffs demand judgment against Defendants and

                                  10          each of them, and any other Defendant yet to be identified, but responsible for the
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                                  11          harm alleged in this cause of action, jointly and severally, for actual, general, special,
                                  12
                                              compensatory damages the amount of to be determined by a jury, and further demands
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                                  13
                                              judgment against each of said Defendants, plus the costs of this action, including
                                  14
                                              attorney’s fees, and such other relief deemed to be just and equitable.
                                  15
                                  16    58. That Plaintiffs and SHALYNNE, as a direct and proximate result of Defendants’

                                  17          conduct, sustained severe, permanent, and disabling injuries and damages resulting in

                                  18          SHALYNNE’s death.
                                  19    59. That in addition to the foregoing, Plaintiffs, have been caused to sustain severe and
                                  20
                                              debilitating emotional injuries and damages subject to proof at the time of trial, all of
                                  21
                                              which are in an amount to be determined by a jury at the time of the trial of this
                                  22
                                              matter.
                                  23
                                  24    60. As a proximate result thereof, Plaintiffs have been caused to incur expenses as and for

                                  25          attorney’s fees and costs of suit herein. Plaintiffs are therefore entitled to an award of
                                  26          reasonable attorney’s fees and the costs of suit herein.
                                  27
                                  28

                                                                                   12
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                                   1                                 FIRST CAUSE OF ACTION

                                   2   (EMTALA VIOLATION FOR FAILURE TO SCREEN AND TREAT SHALYNNE AS

                                   3                               AGAINST ALL DEFENDANTS)

                                   4     61. Plaintiffs reallege and incorporate the preceding paragraphs of this Complaint as if

                                   5        they were fully set forth herein.

                                   6     62. EMTALA, specifically 42 U.S.C. § 1395dd(a) states:

                                   7        (a) Medical screening requirement
                                            In the case of a hospital that has a hospital emergency department, if any individual
                                   8        (whether or not eligible for benefits under this subchapter) comes to the emergency
                                            department and a request is made on the individual’s behalf for examination or
                                   9        treatment for a medical condition, the hospital must provide for an appropriate medical
                                  10        screening examination within the capability of the hospital’s emergency department,
                                            including ancillary services routinely available to the emergency department, to
                                            determine whether or not an emergency medical condition (within the meaning of
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                                  11
                                            subsection (e)(1) of this section) exists.
                                  12
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                                         63. EMTALA, specifically 42 U.S.C. § 1395dd(h) states:
                                  13
                                            (h) No delay in examination or treatment
                                  14
                                            A participating hospital may not delay provision of an appropriate medical screening
                                  15        examination required under subsection (a) of this section or further medical
                                            examination and treatment required under subsection (b) of this section in order to
                                  16        inquire about the individual's method of payment or insurance status.
                                  17     64. EMTALA, specifically 42 U.S.C. § 1395dd(a) states:
                                  18        (b) Necessary stabilizing treatment for emergency medical conditions and labor
                                  19
                                            (1) In general.
                                  20            If any individual (whether or not eligible for benefits under this subchapter) comes
                                                to a hospital and the hospital determines that the individual has an emergency
                                  21            medical condition, the hospital must provide either—
                                  22        (A) within the staff and facilities available at the hospital, for such further medical
                                  23            examination and such treatment as may be required to stabilize the medical
                                                condition, or
                                  24
                                            (B) for transfer of the individual to another medical facility in accordance with
                                  25        subsection (c) of this section.
                                  26     65. EMTALA, specifically 42 U.S.C. § 1395dd(a) states:
                                  27
                                            (e) Definitions.
                                  28

                                                                                 13
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                                   1       In this section:

                                   2       (1) The term “emergency medical condition” means—
                                                  (A) a medical condition manifesting itself by acute symptoms of sufficient
                                   3              severity (including severe pain) such that the absence of immediate medical
                                                  attention could reasonably be expected to result in—
                                   4
                                                  (i) placing the health of the individual (or, with respect to a pregnant woman,
                                   5              the health of the woman or her unborn child) in serious jeopardy,
                                                  (ii) serious impairment to bodily functions, or
                                   6              (iii) serious dysfunction of any bodily organ or part;
                                   7       (2) The term “participating hospital” means a hospital that has entered into a provider
                                   8       agreement under section 1395cc of this title.

                                   9       (3)(A) The term “to stabilize” means, with respect to an emergency medical condition
                                           described in paragraph (1)(A), to provide such medical treatment of the condition as
                                  10       may be necessary to assure, within reasonable medical probability, that no material
                                           deterioration of the condition is likely to result from or occur during the transfer of the
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                                  11       individual from a facility, . .
                                  12
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                                  13    66. Defendant CENTENNIAL is a hospital which has an emergency department that is

                                  14       covered under EMTALA.

                                  15    67. Upon information and belief, Defendant CENTENNIAL has entered into a provider

                                  16       agreement under 42 U.S.C. § 1395cc.

                                  17    68. As a result of the provider agreement, Defendant CENTENNIAL is obligated to

                                  18       comply with the statutory requirements under EMTALA.

                                  19    69. On June 3, 2015, SHALYNNE came to the emergency department at CENTENNIAL.
                                  20    70. Upon her arrival, SHALYNNE was suffering from the symptoms of Deep Vein
                                  21       Thrombosis (“DVT”). (see Exhibits 1, 2, and 3)
                                  22    71. SHALYNNE requested an examination and treatment for these symptoms from
                                  23       CENTENNIAL. (see Exhibits 1 and 2)
                                  24    72. CENTENNIAL requested SHALYNNE’s insurance information or up-front payment
                                  25       before providing any sort of triage or emergency screening examination. (see Exhibits
                                  26       1 and 2)
                                  27
                                  28

                                                                                 14
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                                   1    73. SHALYNNE was never asked to provide her medical history and inaccurate

                                   2       information was inputted into her medical record without her input or assistance. (see

                                   3       Exhibits 1 and 2)

                                   4    74. SHALYNNE stated that she was suffering from pain that she estimated to be at an

                                   5       intensity of 8 on a scale of 1 to 10. (see Exhibits 1, and 2)
                                   6    75. SHALYNNE informed the staff at CENTENNIAL that she did not believe that this
                                   7       was a simple orthopaedic joint or bone injury and requested an MRI or further
                                   8       diagnostic testing which could have uncovered her underlying emergency medical
                                   9       condition. (see Exhibits 1, 2, and 3)
                                  10    76. CENTENNIAL staff refused to comply with SHALYNNE’s request for an MRI or
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                                  11       more thorough screening and stated that without insurance that they could not assist
                                  12       her and that if she obtained insurance she could return for additional care. (see
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                                  13       Exhibits 1 and 2)
                                  14
                                        77. Based on the statements by CENTENNIAL’s staff, their decision to not perform a
                                  15
                                           sufficient screening examination was based on SHALYNNE’s lack of insurance.
                                  16
                                        78. This Court has held that “[p]rocedurally, a hospital must provide the same level of
                                  17
                                           screening uniformly to all individuals who present substantially similar complaints –
                                  18
                                           for example, uninsured persons must be given the same screening as insured persons.”
                                  19
                                           (see Abney v. University Medical Center of Southern Nevada, 2010 WL 1439106
                                  20
                                           citing Correa v. Hosp. San Francisco, 69 F.3d 1184, 1192.)
                                  21
                                        79. Such failure to provide SHALYNNE with a timely and appropriate medical screening
                                  22
                                           for her DVT is a violation of 42 U.S.C. § 1395dd(a).
                                  23
                                        80. This failure to provide an appropriate medical screening, as well as the malpractice of
                                  24
                                           CENTENNIAL in misdiagnosing SHALYNNE with a knee injury, and the further
                                  25
                                           malpractice in providing her with a knee brace without any instructions for use,
                                  26
                                           resulted in her life-threatening condition remaining undiscovered until her death.
                                  27
                                  28

                                                                                   15
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                                   1     81. Wherefore, pursuant to 42 U.S.C. § 1395dd(d)(2)(A), Plaintiffs demand judgment

                                   2        against CENTENNIAL, and any other Defendant yet to be identified, but responsible

                                   3        for the harm alleged in this cause of action, jointly and severally, for actual, general,

                                   4        special, compensatory damages in the amount of to determined by a jury, and further

                                   5        demand judgment against each of said Defendants, plus the costs of this action,
                                   6        including attorney’s fees, and such other relief deemed to be just and equitable.
                                   7     82. Plaintiffs have been required to retain The Law Firm of Casey D. Gish to prosecute
                                   8        this action and are entitled to recover attorney fees and costs incurred pursuant to
                                   9        N.R.S. 18.010, Federal Rule of Civil Procedure 54 and all other applicable law.
                                  10                               SECOND CAUSE OF ACTION
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                                  11   (WRONGFUL DEATH OF SHALYNNE RAMOS AS AGAINST ALL DEFENDANTS)
                                  12     83. Plaintiffs reallege and incorporate the preceding paragraphs of this Complaint as if
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                                  13        they were fully set forth herein.
                                  14     84. Plaintiffs are the heirs and the personal representative of SHALYNNE.
                                  15     85. Defendants caused the death of SHALYNNE through their wrongful acts and neglect
                                  16        of SHALYNNE when she sought medical care at the CENTENNIAL emergency
                                  17        department as described herein.
                                  18     86. Defendants’ wrongful acts and neglect of SHALYNNE caused her to consciously
                                  19        experience extreme pain and suffering prior to her death.
                                  20     87. Pursuant to N.R.S. 41.085, Defendants are liable for the wrongful death of
                                  21        SHALYNNE.
                                  22     88. Defendants are liable for the lost earning capacity of SHALYNNE.
                                  23     89. Defendant’s wrongful acts and neglect of SHALYNNE caused her death and thus
                                  24        deprived Plaintiffs of SHALYNNE’s future companionship, society, and comfort.
                                  25     90. Wherefore, Plaintiff demands judgment against Defendants, and any other Defendant

                                  26        yet to be identified, but responsible for the harm alleged in this cause of action for

                                  27        actual, general, special, compensatory damages in the amount of to be determined by a

                                  28        jury, and further demands judgment against each of said Defendants, plus the costs of

                                                                                 16
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                                   1       this action, including attorney’s fees, and such other relief deemed to be just and

                                   2       equitable.

                                   3    91. SHALYNNE and the Plaintiffs sustained and will continue to sustain damages, the

                                   4       exact amount of which is presently unknown and unascertainable.             Accordingly,

                                   5       Plaintiffs demand judgment against Defendants and each of them, and any other

                                   6       Defendant yet to be identified, but responsible for the harm alleged in this cause of

                                   7       action, jointly and severally, for actual, general, special, compensatory damages the

                                   8       amount of to be determined by a jury, and further demands judgment against each of

                                   9       said Defendants, plus the costs of this action, including attorney’s fees, and such other

                                  10       relief deemed to be just and equitable.
                                        92. Plaintiffs have been required to retain The Law Firm of Casey D. Gish to prosecute
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                                  11
                                  12       this action and are entitled to recover attorney fees and costs incurred pursuant to
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                                  13       N.R.S. 18.010, Federal Rule of Civil Procedure 54 and all other applicable law.

                                  14                                THIRD CAUSE OF ACTION

                                  15        (PROFESSIONAL NEGLIGENCE/MALPRACTICE AS AGAINST ALL

                                  16                                       DEFENDANTS)

                                  17    93. Plaintiffs reallege and incorporate the preceding paragraphs of this Complaint as if

                                  18       they were fully set forth herein.

                                  19    94. That each of the Defendants had a duty to provide for appropriate evaluation(s),

                                  20       medical treatment, testing and care, and the protection and safety of SHALYNNE

                                  21       while she was in their care, by insuring the safe and proper medical attention,
                                  22       treatment and care was provided to SHALYNNE at all times. That all Defendants had
                                  23
                                           a duty to exercise reasonable care during their evaluation and administration of
                                  24
                                           medical care, and to do so within the standard of care. All Defendants failed to
                                  25
                                           adequately assess and treat SHALYNNE at the CENTENNIAL emergency
                                  26
                                  27       department.

                                  28    95. That a duty owed to SHALYNNE was breached by each of the Defendants, their

                                                                                17
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                                   1       agents, staff and employees, and that each of the Defendants failed to follow proper

                                   2       medical protocols and procedures, which ultimately led to the injuries and damages as
                                   3       herein above alleged, thereby causing severe, permanent, and debilitating injuries and
                                   4
                                           damages to SHALYNNE and ultimately causing her death. (Exhibit 3)
                                   5
                                        96. That as a direct and proximate result of this breach in protocol, procedure, and as a
                                   6
                                           direct and proximate result of the breach of the applicable standards of care and
                                   7
                                   8       treatment and the ethical standards in the practice of medicine, Plaintiffs have

                                   9       sustained damages in an amount to be determined by a jury at the time of the trial of

                                  10       this matter.
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                                  11    97. That as a further direct and proximate result of the Defendants, and each of their
                                  12
                                            negligence, malpractice, falling below the standard of care and/or the standard of
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                                  13
                                           practice, recklessness, intentional acts and/or conscious indifference and disregard for
                                  14
                                            the safety and well-being of SHALYNNE, she was caused to suffer severe and
                                  15
                                  16       extreme pain, suffering, and distress, as well as mental and emotional distress,

                                  17       ultimately culminating in her death all to the Plaintiffs’ damages in an amount to be

                                  18       determined by a jury at the time of trial of this matter. As a result, SHALYNNE and
                                  19       the Plaintiffs sustained and will continue to sustain damages, the exact amount of
                                  20
                                           which is presently unknown and unascertainable. Accordingly, Plaintiffs demand
                                  21
                                           judgment against Defendants and each of them, and any other Defendant yet to be
                                  22
                                           identified, but responsible for the harm alleged in this cause of action, jointly and
                                  23
                                  24       severally, for actual, general, special, compensatory damages the amount of to be

                                  25       determined by a jury, and further demands judgment against each of said Defendants,
                                  26       plus the costs of this action, including attorney’s fees, and such other relief deemed to
                                  27
                                           be just and equitable.
                                  28

                                                                                18
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                                   1    98. As a proximate result, Plaintiffs have been caused to incur expenses as and for

                                   2       attorney’s fees and costs of suit herein. Plaintiffs are therefore entitled to an award of
                                   3       reasonable attorney’s fees and the costs of suit herein.
                                   4
                                        99. Plaintiffs have been required to retain The Law Firm of Casey D. Gish to prosecute
                                   5
                                           this action and are entitled to recover attorney fees and costs incurred pursuant to
                                   6
                                           N.R.S. 18.010, Federal Rule of Civil Procedure 54 and all other applicable law.
                                   7
                                                                     FOURTH CAUSE OF ACTION
                                   8
                                                          (NEGLIGENCE AS AGAINST ALL DEFENDANTS)
                                   9
                                        100.           Plaintiffs reallege and incorporate the preceding paragraphs of this Complaint
                                  10
                                           as if they were fully set forth herein.
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                                  11
                                        101. Defendants, and each of them, owed SHALYNNE a duty of care in her treatment and
                                  12
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                                  13           care.

                                  14    102. Defendants, and each of them, breached that duty as set forth above when they

                                  15       completely and utterly failed to treat, assess, and care for SHALYNNE in a reasonable
                                  16
                                           manner, and failed to take reasonable actions to diagnose the blood clot she was
                                  17
                                           suffering from thus causing her extreme pain and suffering and ultimately causing her
                                  18
                                           death.
                                  19
                                        103. That Defendants, and each of them breached the duty as set forth above by not
                                  20
                                  21       providing adequate care and treatment at the CENTENNIAL emergency department.

                                  22    104. That as a direct and proximate result of the negligence, recklessness and/or
                                  23       intentional conduct of each of the Defendants as alleged hereinabove, SHALYNNE
                                  24
                                           suffered extreme pain and suffering and ultimately died. As a result Plaintiffs have
                                  25
                                           suffered damages in an amount to be determined by a jury at the trial of this matter.
                                  26
                                           As a result, SHALYNNE and the Plaintiffs sustained and will continue to sustain
                                  27
                                  28       damages, the exact amount of which is presently unknown and unascertainable.

                                                                                   19
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                                   1       Accordingly, Plaintiffs demand judgment against Defendants and each of them, and

                                   2       any other Defendant yet to be identified, but responsible for the harm alleged in this
                                   3       cause of action, jointly and severally, for actual, general, special, compensatory
                                   4
                                           damages the amount of to be determined by a jury, and further demands judgment
                                   5
                                           against each of said Defendants, plus the costs of this action, including attorney’s fees,
                                   6
                                           and such other relief deemed to be just and equitable.
                                   7
                                   8    105. As a proximate result, Plaintiffs have been caused to incur expenses as and for

                                   9        attorney’s fees and costs of suit herein. Plaintiffs are therefore entitled to an award of

                                  10        reasonable attorney’s fees and the costs of suit herein.
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                                  11                                FIFTH CAUSE OF ACTION
                                  12
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                                        (NEGLIGENT TRAINING/NEGLIGENT SUPERVISION AS AGAINST EACH
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                                  13
                                                                               DEFENDANT)
                                  14
                                        106. Plaintiffs reallege and incorporate the preceding paragraphs of this Complaint as if
                                  15
                                           they were fully set forth herein.
                                  16
                                        107. That each of the Defendants had a duty to provide for the protection and safety of
                                  17
                                  18       SHALYNNE while she was in their care, ensuring that safe and proper medical

                                  19       treatment and attention, medical treatment and medical care were provided to her at all

                                  20       times.
                                  21    108. That defendants UHS and CENTENNIAL breached that duty by hiring employees
                                  22
                                           and personnel who were willing to deviate from reasonable and accepted standards
                                  23
                                           and practices and fail to treat SHALYNNE in a reasonable and competent manner. In
                                  24
                                           addition, the Defendants, and each of them, named above had a duty to reasonably
                                  25
                                  26       supervise the care and treatment that was being provided to SHALYNNE in the

                                  27       CENTENNIAL emergency department and assure that the care and treatment being

                                  28       provided to SHALYNNE was reasonable and in compliance with proper medical

                                                                                 20
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                                   1       protocols and procedures and standards. Defendants, and each of them, failed to

                                   2       follow proper medical protocols and procedures, including reasonable supervision of
                                   3       other medical personnel, which ultimately led to the injuries, death, and damages as
                                   4
                                           hereinabove alleged, and thereby causing severe, permanent, debilitating injuries to,
                                   5
                                           and ultimately the death of SHALYNNE and damages to Plaintiffs.
                                   6
                                        109. That such duty was breached by Defendants, and each of them, and their agents,
                                   7
                                   8       employees, and/or the Defendants named above failed to follow proper medical

                                   9       protocols and procedures in providing medical care and treatment to SHALYNNE. All

                                  10       of which ultimately led to the injuries and damages as hereinabove alleged,
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                                  11        thereby causing severe, permanent, and debilitation injuries and damages to
                                  12
                                           SHALYNNE and ultimately causing her death.
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                                  13
                                        110. That as direct and proximate result of these breaches, in protocol and procedure, as
                                  14
                                           well as Defendants, and each of them, failures to properly monitor, train, and supervise
                                  15
                                  16       their employees and/or agents, Plaintiffs have sustained damages in an amount to be

                                  17       determined by a jury at the trial of this matter. As a result, SHALYNNE and the

                                  18       Plaintiffs sustained and will continue to sustain damages, the exact amount of which is
                                  19       presently unknown and unascertainable. Accordingly, Plaintiffs demand judgment
                                  20
                                           against Defendants and each of them, and any other Defendant yet to be identified, but
                                  21
                                           responsible for the harm alleged in this cause of action, jointly and severally, for
                                  22
                                           actual, general, special, compensatory damages the amount of to be determined by a
                                  23
                                  24       jury, and further demands judgment against each of said Defendants, plus the costs of

                                  25       this action, including attorney’s fees, and such other relief deemed to be just and
                                  26       equitable.
                                  27
                                        111. That as a further direct and proximate result of the Defendants and each of their
                                  28

                                                                               21
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                                   1         negligence, recklessness, intentional acts and/or conscious indifference and disregard

                                   2        for the safety and well-being of SHALYNNE, she was permanently and irreparably
                                   3        injured and was caused to suffer severe and extreme pain, suffering, and distress, as
                                   4
                                            well as death. This has resulted in, and caused, the severe, debilitating, and permanent
                                   5
                                            injuries and damages, in an amount to be determined by a jury at the time of the trial
                                   6
                                            of this matter. As a result, SHALYNNE and the Plaintiffs sustained and will continue
                                   7
                                   8        to sustain damages, the exact amount of which is presently unknown and

                                   9        unascertainable. Accordingly, Plaintiffs demand judgment against Defendants and

                                  10        each of them, and any other Defendant yet to be identified, but responsible for the
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                                  11        harm alleged in this cause of action, jointly and severally, for actual, general, special,
                                  12
                                            compensatory damages the amount of to be determined by a jury, and further demands
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                                  13
                                            judgment against each of said Defendants, plus the costs of this action, including
                                  14
                                            attorney’s fees, and such other relief deemed to be just and equitable.
                                  15
                                  16     112. For the reasons set forth herein, and as a proximate result thereof, Plaintiffs have been

                                  17         caused to incur expenses as and for attorney’s fees and costs of suit herein. Plaintiffs

                                  18         are therefore entitled to an award of reasonable attorney’s fees and the costs of suit
                                  19         herein.
                                  20
                                                                     SIXTH CAUSE OF ACTION
                                  21
                                       (RESPONDEAT SUPERIOR AGAINST AS AGAINST DEFENDANTS CENNTENIAL
                                  22
                                                                                AND UHS)
                                  23
                                         113. Plaintiffs reallage and incorporate the preceding paragraphs of this Complaint as if
                                  24
                                            they were fully set forth herein.
                                  25
                                  26     114. That Defendants CENTENNIAL and UHS were and still are, to the extent known,

                                  27        the employer of all of the other Defendants named herein.

                                  28     115. All the negligent and/or intentional actions alleged against the Defendants above

                                                                                  22
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                                   1       were performed within the scope of their employment and obligations as employees

                                   2       and/or agents of Defendants CENTENNIAL and UHS.
                                   3    116. That Plaintiffs allege that the injuries and damages as alleged hereinabove, as caused
                                   4
                                           to Plaintiffs were all caused, both directly and proximately, by the medical negligence,
                                   5
                                           recklessness and/or intentional acts and omissions of each of the Defendants.
                                   6
                                           Plaintiffs’ general and special damages are in an amount to be determined at the time
                                   7
                                   8       of trial by jury of this matter. As a result, SHALYNNE and the Plaintiffs sustained

                                   9       and will continue to sustain damages, the exact amount of which is presently unknown

                                  10       and unascertainable. Accordingly, Plaintiffs demand judgment against Defendants and
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                                  11       each of them, and any other Defendant yet to be identified, but responsible for the
                                  12
                                           harm alleged in this cause of action, jointly and severally, for actual, general, special,
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                                  13
                                           compensatory damages the amount of to be determined by a jury, and further demands
                                  14
                                           judgment against each of said Defendants, plus the costs of this action, including
                                  15
                                  16       attorney’s fees, and such other relief deemed to be just and equitable.

                                  17    117. For the reasons set forth herein, and as a proximate result thereof, Plaintiffs have

                                  18       been caused to incur expenses as and for attorney’s fees and costs of suit herein.
                                  19       Plaintiffs are therefore entitled to an award of reasonable attorney’s fees and costs of
                                  20
                                           suit herein.
                                  21
                                                                  SEVENTH CAUSE OF ACTION
                                  22
                                          (NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS ON JOZETTE
                                  23
                                                          FIGUEREDO AS AGAINST ALL DEFENDANTS)
                                  24
                                        118. Plaintiffs reallage and incorporate the preceding paragraphs of this Complaint as if
                                  25
                                           they were full set forth herein.
                                  26
                                  27    119. JOZETTE is the minor child of Plaintiff AMY VILELA and is the sister of

                                  28       SHALYNNE.

                                                                                23
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                                   1    120. JOZETTE was put in a position where she was unable to help her sister while she

                                   2       was dying of a DVT.
                                   3    121. JOZETTE’s last memory of her sister SHALYNNE will be of June 27 and 28, 2015
                                   4
                                           when she spent the entire night holding her older sister as she lay dying in her hospital
                                   5
                                           bed.
                                   6
                                        122. The shock of these devastating events, and the subsequent dealings with the loss of
                                   7
                                   8       her sister, has placed JOZETTE in a daily state of emotional distress since the date of

                                   9       SHALYNNE’s death resulting in the requirement for JOZETTE to seek counseling for

                                  10       such distress.
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                                  11    123. Defendants, and each of them, negligently inflicted emotional distress to the
                                  12
                                           Plaintiff, JOZETTE.
      Las Vegas, Nevada 89118
       5940 S. Rainbow Blvd.
       Phone (702) 583-5883




                                  13
                                        124. Wherefore, Plaintiff demands judgment against Defendants and each of them, and
                                  14
                                           any other Defendant yet to be identified, but responsible for the harm alleged in this
                                  15
                                  16       cause of action, jointly and severally, for actual, general, special, compensatory

                                  17       damages in the amount of to be determined by a jury, and further demands judgment

                                  18       against each of said Defendants, plus the costs of this action, including attorney’s fees,
                                  19       and such other relief deemed to be just and equitable by a jury at the time of trial of
                                  20
                                           this matter.
                                  21
                                        125. Plaintiffs have been required to retain The Law Firm of Casey D. Gish to prosecute
                                  22
                                           this action and are entitled to recover attorney fees and costs incurred pursuant to
                                  23
                                  24       N.R.S. 18.010, Federal Rule of Civil Procedure 54 and all other applicable law.

                                  25                              EIGHTH CAUSE OF ACTION
                                  26   (NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS ON AMY VILELA AS
                                  27                             AGAINST ALL DEFENDANTS)
                                  28    126. Plaintiffs reallage and incorporate the preceding paragraphs of this Complaint as if

                                                                                24
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                                   1          they were fully setforth herein.

                                   2      127. Plaintiffs reallege and incorporate the preceding paragraphs of this Complaint as if
                                   3          they were fully set forth herein.
                                   4
                                          128. AMY was put in a position where she was unable to help her daughter while she was
                                   5
                                              dying of a DVT.
                                   6
                                          129. AMY’s last memory of her daughter SHALYNNE will be of June 28, 2015 when
                                   7
                                   8          she held her unconscious daughter as she struggled to breathe her final breaths in her

                                   9          hospital bed.

                                  10      130. The shock of these devastating events, and the subsequent dealings with the loss of
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                                  11          her daughter, has placed AMY in a daily state of emotional distress since the date of
                                  12
                                              SHALYNNE’s death resulting in physical illness and the requirement for AMY to
      Las Vegas, Nevada 89118
       5940 S. Rainbow Blvd.
       Phone (702) 583-5883




                                  13
                                              seek counseling.
                                  14
                                          131. Wherefore, Plaintiff demands judgment against Defendants and each of them, and
                                  15
                                  16          any other Defendant yet to be identified, but responsible for the harm alleged in this

                                  17          cause of action, jointly and severally, for actual, general, special, compensatory

                                  18          damages in the amount of to be determined by a jury, and further demands judgment
                                  19          against each of said Defendants, plus the costs of this action, including attorney’s fees,
                                  20
                                              and such other relief deemed to be just and equitable by a jury at the time of the trial of
                                  21
                                              this matter.
                                  22
                                          132. Plaintiffs have been required to retain The Law Firm of Casey D. Gish to prosecute
                                  23
                                  24          this action and are entitled to recover attorney fees and costs incurred pursuant to

                                  25          N.R.S. 18.010, Federal Rule of Civil Procedure 54 and all other applicable law.
                                  26                                  DEMAND FOR JURY TRIAL
                                  27          Plaintiffs hereby request a trial by jury of no less than twelve (“12”) persons on all
                                  28   issues so triable pursuant to Fed.R.Civ.P. 38(b).

                                                                                   25
                                   Case 2:16-cv-01503-RFB-CWH Document 1 Filed 06/23/16 Page 26 of 26




                                   1                                PRAYER FOR RELIEF

                                   2      WHEREFORE, Plaintiff prays for judgment against the Defendants as follows:

                                   3      1. For a judgment for the Plaintiffs for all money damages available in a sum to be

                                   4         determined;

                                   5      2. For a finding by this Court that under the precedent set forth in Abney v. University

                                   6         Medical Center of Southern Nevada that this instant action is based, in part, on

                                   7         private federal cause of action, not in tort, the limitations on damages set forth in

                                   8         NRS 41.035 do not apply to Defendant. (see Abney v. University Medical Center

                                   9         of Southern Nevada, 2010 WL 1439106.)

                                  10      3. For an award of attorney fees to the Plaintiffs for their reasonable attorney’s fees,
                                             court costs and necessary disbursements incurred in connection with this lawsuit;
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                                  11
                                  12         and
      Las Vegas, Nevada 89118
       5940 S. Rainbow Blvd.
       Phone (702) 583-5883




                                          4. For such other and further relief as the Court deems just and equitable.
                                  13
                                          Dated this 23rd day of June, 2016.
                                  14
                                                                                    LAW OFFICE OF CASEY D. GISH
                                  15
                                  16
                                                                                    By: ___________________________
                                  17
                                                                                        CASEY D. GISH, Esq.
                                  18                                                    Nevada Bar No. 6657
                                  19                                                    The Law Office of Casey D. Gish
                                                                                        5940 S. Rainbow Blvd.
                                  20                                                    Las Vegas, NV 89118
                                                                                        Phone: (702) 583-5883
                                  21                                                    Email: info@gishlawfirm.com
                                                                                        Attorney for Plaintiff
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